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UNITED STATES DISTRICT CoURT l F'£E”
for the .aUL 26 2017

Southern District of Texas

   

AO 91 (Rev. 02/09) Criminal Complaint

   
   

   
 
  

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United States of America )
Andres RANGE\`_].YOB: 1981 usc § CaSe NO. l\/\ "' 17 "' lz z\lr M
§
Defendam
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of 07/17/2017 in the county of Hlda|QO in the SOUfh€rn District of

Texas , the defendant violated __j'it|e18 j U. S. C. § Section 922 (g)(1)
, an offense described as follows:

The defendant, did knowingly and unlawfully possess eight (8) rounds of Federal .45 caliber auto ammunition that had
previously traveled in and affected interstate commerce, after being convicted in a court of law for a felony crime
punishable by imprisonment for a term exceeding one year.

This criminal complaint is based on these facts:

SEE ATTACHMENT A

Complainant' s signature
YA,USA § PW b 'U§JAgent

Candace Garza, ATF Speci
@);¢@»-?/Ze//+

Printed name and title

d Continued on the attached sheet.

 

Swom to before me and signed in my presence.

Date; g l§;QlWW ,@W w

Judge s signature

 

City and State; McAllen, Texas Dorina Ramos, U.S. Magistrate Judge
Printed name and title

 

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ATTACHMENT A

 

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On July l7, 2017, ATF Special Agents, from the McAllen III Field Off`ice, conducted a consent to search at
Andres RANGEL parent’s residence, located in the Edcouch, TX area, in reference to information received
regarding RANGEL’s illegal possession of suspected grenades. Agents arrived at the door and made contact
with A. RANGEL's father. A. RANGEL's father agreed to a search of his residence and proceeded to show
Agents where A. RANGEL's belongings were located inside the rear room (laundry room). lt should be noted
Agents received written consent to Search by A. RANGEL's father prior to searching the laundry room.

As a result of the written consent to search agents discovered two grenade hulls, located inside a box, in the
laundry room. Agents observed both grenades appeared to be inert. Additionally, Agents discovered eight (8)
rounds of Federal .45 caliber auto ammunition located on the table next to men’s clothing.

On July l9, 2017, Agents conducted a post Miranda interview of A. RANGEL at the Hidalgo County
Detention Center where he was being held on unrelated State charges. A. RANGEL admitted the eight (8)
rounds of Federal .45 caliber auto ammunition found inside his father’s residence belonged to him. Agents
showed A. RANGEL a picture of the eight (8) rounds of F ederal .45 caliber auto ammunition. A. RANGEL
admitted that those were the rounds that belonged to him. A. RANGEL stated he had the ammunition in his
possession for approximately five to six years. A. RANGEL stated he was a previously convicted felon and
had been to Texas Department of Criminal Justice for numerous felony convictions.

On July l7, 2017, your affiant spoke with ATF Special Agent Carlos Delgado, who is a recognized expert in
the interstate and foreign commerce travel of firearms and ammunition. Based on the information your affiant
provided SA Delgado about the ammunition possessed by A. RANGEL, SA Delgado stated the ammunition
was manufactured outside of the State of Texas and therefore, previously traveled in interstate or foreign
commerce at sometime prior to being possessed by any person in the State of Texas.

On July 17, 2017, a Computerized Criminal History check on A. RANGEL revealed that A. RANGEL was
convicted in 1998 for Burglary of Habitation and was sentenced to ten (lO) years in confinement Texas
Department of Criminal Justice .

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ATTACHMENT A

Based on the above information, your affiant believes A. RANGEL, was in possession of the above mentioned
ammunition in violation of Title 18, United States Code, Section 922(g)(1), on or about July l7, 2017, in
Hidalgo County, Texas.

/…MM

K/Candace Garza, ATF Special Ag@\

Sworn to before me and subscribed in my presence,

 

 

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Dorina Ramos, U.S. Magistrate Judge

